                          NUMBER 13-24-00393-CV

                            COURT OF APPEALS

                   THIRTEENTH DISTRICT OF TEXAS

                     CORPUS CHRISTI – EDINBURG


                            IN THE MATTER OF J.J.G.


             ON APPEAL FROM THE 449TH DISTRICT COURT
                    OF HIDALGO COUNTY, TEXAS


                         MEMORANDUM OPINION
              Before Justices Benavides, Longoria, and Silva
               Memorandum Opinion by Justice Benavides

      This matter is before the Court on appellant’s amended motion to dismiss appeal.

Appellant requests dismissal due to no final, appealable order being entered as well as a

change to the underlying facts and circumstances which render the appeal moot.

      The Court, having considered the motion, is of the opinion that the amended

motion should be granted. See TEX. R. APP. P. 42.1(a)(1). Therefore, the amended motion

to dismiss is granted, and the appeal is hereby dismissed. All costs will be waived, as
appellant is indigent. Because the appeal is dismissed at appellant’s request, no motion

for rehearing will be entertained.

                                                            GINA M. BENAVIDES
                                                            Justice

Delivered and filed on the
22nd day of August, 2024.




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